
82 So.3d 185 (2012)
Angus N. KELLEY, Petitioner,
v.
STATE of Florida, Respondent.
No. 1D11-6903.
District Court of Appeal of Florida, First District.
March 12, 2012.
Angus N. Kelley, pro se, Petitioner.
Pamela Jo Bondi, Attorney General, and Heather Flanagan Ross, Assistant Attorney General, Tallahassee, for Respondent.
PER CURIAM.
The petition is granted and Angus N. Kelley is hereby afforded belated appeal from the order of the Circuit Court for Calhoun County which denied postconviction relief in its case number 07-032. Upon issuance of mandate in this cause, a copy of the opinion will be provided to the clerk of the circuit court who shall treat it as a notice of appeal. Fla. R.App. P. 9.141(c)(6)(D).
PETITION GRANTED.
VAN NORTWICK, THOMAS, and ROBERTS, JJ., concur.
